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                      UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF OHIO
                            EASTERN DIVISION

INTERNATIONAL WATCHMAN INC.,                    CIVIL ACTION NO. 1:23-CV-2396

                        Plaintiff,

     vs.                                        JUDGE DAVID A. RUIZ

REEDS JEWELERS, INC., ET AL.,                   MAGISTRATE JENNIFER D.
                                                ARMSTRONG
                        Defendants.




          DEFENDANT REEDS JEWELERS, INC.’S MEMORANDUM
 IN SUPPORT OF ITS MOTION TO DISMISS UNDER FEDERAL RULES OF CIVIL
                    PROCEDURE 12(B)(2), (3), AND (6)
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       Plaintiff International Watchman, Inc. (“Plaintiff” or “IWI”) brought this action against

Defendant Reeds Jewelers, Inc. (“Defendant” or “Reeds”) alleging claims under Section 43(a) of

the Lanham Act, 15 U.S.C. § 1125(a), and state law unfair competition, Ohio Unfair Competition

Ohio Rev. Code § 4165.02 et seq. Dkt. 5 (First Amended Complaint) (“FAC”). The complaint

should be dismissed under Federal Rules of Civil Procedure 12(b)(2), (3), and (6).

       First, the Court lacks personal jurisdiction over Reeds and venue is improper in this

District. Reeds is incorporated in North Carolina, headquartered in North Carolina, and focuses

its business on the southeastern part of the United States, not Ohio. Declaration of William D.

Reinger at ¶¶ 3-5, 8-9 (“Reinger Decl.”). Reeds has no physical locations in Ohio and does nothing

to specifically target Ohio customers. Id. at ¶¶ 4, 7-9 12-13. The alleged basis for personal

jurisdiction is Reeds’ operation (from North Carolina) of a generally accessible e-commerce

website. See FAC ¶¶ 17-29. But in the last four years (2020-2023), Reeds has made only one

online sale of an allegedly infringing product to only one customer in Ohio. Reinger Decl. at ¶ 15.

The sale was for less than $300, representing less than 0.2% of all Reeds revenue from those

products. Id. That is insufficient to establish personal jurisdiction or venue.

       Second, even if the Court had jurisdiction over Reeds, Plaintiff fails to state a claim.

Plaintiff asserts that it has a valid trademark in the word “NATO” even though the U.S. Patent and

Trademark Office has rejected its related trademark registrations on the obvious grounds that

“NATO” refers to the North Atlantic Treaty Organization (the “Treaty Organization”), not

Plaintiff. See U.S. Trademark Application Serial Nos. 87302907, 87302891, 87302892 (filed Jan.

16, 2017). Here, the single advertisement Plaintiff attaches to its complaint clearly refers to a style

of watchband used by militaries of the Treaty Organization. See Dkt. 5-2. These NATO

watchbands are made and sold by many companies and long pre-date Plaintiff or its purported




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mark. As shown in the Reeds advertisement attached to the FAC, the allegedly infringing products

clearly identify the manufacturer as the source of the goods. Id.

         As the Sixth Circuit put it in a case about trademarks for baked goods, “Derby Pie” is both

“shorthand for chocolate nut pie” and (apparently) a trademarked phrase. But when a defendant’s

use of “‘Derby pie’ simply informs the reader of the type of pie” and does not refer to “the DERBY-

PIE®,” the complaint must be dismissed under Rule 12(b)(6). Rupp v. Courier-J., Inc., 839 F.

App’x 1003, 1008 (6th Cir. 2021) (emphasis in original). Here, Reeds’ advertisements refer to the

NATO, but Plaintiff is not the NATO. Plaintiff is an entity that (according to its trademark

registration) first used the word “NATO” in 2003, long after NATO or NATO-style watches came

into existence.

I.       BACKGROUND

         A.       Reeds’ Business and NATO-Style Watches

         Reeds, a North Carolina corporation, headquartered in Wilmington, North Carolina, is a

jewelry retailer that operates primarily in the southeastern part of the United States. Reinger Decl.

at ¶¶ 3-5, 8-9. Among many other products, Reeds sells watches and watch accessories, like watch

straps. Id. at ¶ 14.

         The militaries in the Treaty Organization have long used a style of watch strap that has

become known as a “NATO” watch strap. The Treaty Organization itself has recognized this

trend:

         In recent years, popularity over the simple, yet iconic, stainless steel watch bracelet
         with customisable stripes has been all the buzz in the watch industry. … So, while
         the NATO strap is not actually a NATO-branded strap, it is an important article of
         clothing that was used by forces of a NATO member country.

                  …




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       Beyond aesthetic, the NATO straps worn by civilians today retain the same appeal
       to durability and practicality as in its design at the outset. 1

Like many other jewelers, Reeds sells NATO-style watches and watch straps manufactured by

multiple companies, including Hamilton, Bulova, and Omega (“NATO-style Products”). Reinger

Decl. at ¶ 14. As this case (with four other defendants) shows, many companies sell these types

of watches and watch straps.

       Reeds’ advertisements attached to the FAC clearly state the manufacturer of the watches,

OMEGA, and refer to the military origins of the NATO-style, as commonly used in the watch

industry: “OMEGA’s NATO-inspired straps have been influenced by some particularly robust and

storied ancestors and can trace their earliest origins to the Second World War.” Dkt. 5-2.

       B.      Plaintiff and Related Proceedings.

       Plaintiff is an entity that purports to sell “NATO” branded products, but offers its purported

“NATO” mark “for lease in numerous product Classifications.” 2 Plaintiff has filed numerous mass

lawsuits relating to its purported trademark rights in the word “NATO.” See, e.g., Int’l Watchman,

Inc. v. The NATO Strap Co., No. 1:13-CV-01986 (N.D. Ohio filed Sept. 9, 2013); Int’l Watchman,

Inc. v. Barton Watchbands Holdco, LLC, No. 1:19-CV-02310 (N.D. Ohio filed Oct. 3, 2019); Int’l

Watchman, Inc. v. Wrist and Style, Inc., No. 1:22-CV-01281 (N.D. Ohio filed July 20, 2022).

       A trademark examiner at the U.S. Patent and Trademark Office recently rejected multiple

applications from Plaintiff for related “NATO” marks. See U.S. Trademark Application Serial

Nos. 87302907, 87302891, 87302892 (filed Jan. 16, 2017). On appeal, the U.S. Trademark Trial




1
  Exhibit 1 (The NATO Strap: More Than A Fashion Statement, North Atlantic Treaty
Organization, https://www.nato.int/cps/en/natohq/declassified_149972.htm (last visited Mar. 9,
2024)).
2
  Leasing, International Watchman, Inc., https://www.internationalwatchman.com/leasing (last
visited Mar. 7, 2024).


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and Appeal Board (“TTAB”) affirmed the examiner. In Re Int’l Watchman, Inc., No. 87302907,

2021 U.S.P.Q.2d 1171, 2021 WL 5755146, at *1 (Nov. 30, 2021). The TTAB found that “NATO

is a well-recognized acronym for the North Atlantic Treaty Organization.” Id. at *6. The TTAB

further concluded that “Consumers would view Applicant’s mark as pointing ‘uniquely and

unmistakably’ to” the Treaty Organization, and not to Plaintiff. Id. Plaintiff did not further appeal

the TTAB’s decision.

       C.      Reeds Has No Presence In Ohio.

       Reeds does not have any physical presence in Ohio. Reinger Decl. at ¶¶ 4-5, 7-9. Reeds

does not have any offices, facilities, or retail locations in Ohio. Id. at ¶ 4. Reeds does not own

any real property, inventory, or bank accounts in Ohio. Id. at ¶ 7. Reeds does not have any agents,

officers, or directors in Ohio. Id. at ¶ 5. Reeds has one remote employee who chooses to live in

Ohio for personal reasons. Id. at ¶ 6. That employee has no responsibility for the products at issue.

Id. Reeds does not target advertising specifically at Ohio. 3 Id. at ¶ 13.

       The majority of Reeds’ business is conducted through its brick and mortar retail locations,

of which (to repeat) there are none in Ohio. Id. at ¶ 9. Relevant here, Reeds also sells through its

website, which is available to all people with internet access, regardless of location. Id. at ¶ 10.

Reeds’ website was not created for and is not specifically directed to Ohio residents. Id. at ¶ 12.

Reeds’ website is controlled from North Carolina by Reeds’ employees there. Id. at ¶ 11.

       From 2020-2023, Reeds had only one sale of NATO-style Products shipped to Ohio,

generating $296.25 in revenue. Id. at ¶ 15. Ohio accounts for less than 0.2% of Reeds’ total

sales of NATO-style Products. Id.



3
  Reeds uses Google and other online advertising platforms which, on information and belief, may
take into account a user’s location, but Reeds has no control over that and does not do anything to
target Ohio residents in its advertising. Id. at ¶ 13.


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II.     LEGAL STANDARD

        A.     Personal Jurisdiction

        “Under Rule 12(b)(2) of the Federal Rules of Civil Procedure, the plaintiff has the burden

of proving the court’s jurisdiction over every defendant.” Nottingham-Spirk Design Assocs., Inc.

v. Halo Innovations, Inc., 603 F. Supp. 3d 561, 566 (N.D. Ohio 2022). “To assert personal

jurisdiction over a defendant, a federal court with subject matter jurisdiction pursuant to either 28

U.S.C. § 1331 or § 1332 must find that (1) defendant is amenable to service of process under the

forum state’s long-arm statute, and (2) the exercise of personal jurisdiction will not deny defendant

due process.” J.M. Smucker Co. v. Hormel Food Corp., 526 F. Supp. 3d 294, 299-300 (N.D. Ohio

2021) (citing Theunissen v. Matthews, 935 F.2d 1454, 1459 (6th Cir. 1991); Bird v. Parsons, 289

F.3d 865, 871 (6th Cir. 2002)). When a defendant disputes jurisdictional pleadings with evidence,

as Reeds does here, the Plaintiff “may no longer stand on his pleadings but must, by affidavit or

otherwise, set forth specific facts showing that the court has jurisdiction.” Sullivan v. LG Chem,

Ltd., 79 F.4th 651, 660 (6th Cir. 2023) (quoting Peters Broad. Eng’g, Inc. v. 24 Cap., LLC, 40

F.4th 432, 437-38 (6th Cir. 2022)).

        B.     Venue

        “On a motion to dismiss for improper venue, the plaintiff bears the burden of proving that

venue is proper.” Smith v. Swaffer, 566 F. Supp. 3d 791, 802 (N.D. Ohio 2021) (quoting Audi AG

& Volkswagen of Am., Inc. v. Izumi, 204 F. Supp. 2d 1014, 1017 (E.D. Mich. 2002)). “Dismissal

for improper venue is appropriate when the plaintiff has not asserted that any event, act, or

omission upon which its claims are based occurred in its chosen forum.” 513 Ventures, LLC v.

PIV Enterprises, Inc., No. 1:11-CV-573, 2012 WL 995277, at *5 (S.D. Ohio Mar. 23, 2012).




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          C.     Failure To State a Claim

          To survive a Rule 12(b)(6) motion to dismiss, there must be sufficient facts to “raise a right

to relief above a speculative level.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). A

plaintiff must offer “more than labels and conclusions, and a formulaic recitation of the elements

of a cause of action will not do.” Id.; see Hensley Mfg. v. ProPride, Inc., 579 F.3d 603, 609 (6th

Cir. 2009). Mere conclusions “are not entitled to the assumption of truth” instead, “legal

conclusions . . . must be supported by factual allegations.” Ashcroft v. Iqbal, 556 U.S. 662, 679

(2009).

III.      ARGUMENT

          A.     The Court Lacks Personal Jurisdiction Over Reeds.

                 1.      Ohio Long Arm Statute

          Ohio’s long-arm statute provides that a court may exercise personal jurisdiction “over a

person on any basis consistent with the Ohio Constitution and the United States Constitution.”

Ohio Rev. Code § 2307.382(C). Accordingly, Reeds focuses on the reasons that an exercise of

personal jurisdiction here is inconsistent with the United States Constitution.

                 2.      Federal Due Process

          The Supreme Court has recognized two types of personal jurisdiction: “general or all-

purpose jurisdiction, and specific or conduct-linked jurisdiction.” Daimler AG v. Bauman, 571

U.S. 117, 122 (2014). A court possessing general jurisdiction over a defendant may “hear any and

all claims against” it. Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 919

(2011). “Specific jurisdiction, on the other hand, depends on an affiliation between the forum and

the underlying controversy, principally, activity or an occurrence that takes place in the forum

State and is therefore subject to the State’s regulation.” Id. (cleaned up).




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                               The Court lacks general jurisdiction over Reeds.

       “[O]nly a limited set of affiliations with a forum will render a defendant amenable to”

general jurisdiction there. Daimler, 571 U.S. at 137. “With respect to a corporation, the place of

incorporation and principal place of business are paradigm bases for general jurisdiction” and the

only ones the Supreme Court has ever recognized. Id. (cleaned up). Here, Plaintiff pleads that

Reeds is a North Carolina corporation and that its principal place of business is in North Carolina.

Accordingly, the Court lacks general personal jurisdiction over Reeds.

                               The Court lacks specific jurisdiction over Reeds.

       The Sixth Circuit applies a three-part test for specific personal jurisdiction:

       (1) the defendant purposefully avails himself of the privilege of acting or causing a
       consequence in the forum State; (2) the cause of action arises from the defendant's
       activities there; and (3) the defendant’s acts or the consequences of those acts have
       a substantial enough connection with the forum to make the exercise of jurisdiction
       over the defendant reasonable.

Aerodyne Env’t, Inc. v. Keirton, Inc., 628 F. Supp. 3d 744, 751-52 (N.D. Ohio 2022) (citing Bird,

289 F.3d at 874). Plaintiff cannot satisfy any of these elements, let alone all three.

                               i.     Plaintiff cannot satisfy the purposeful availment test.

       Simply stated, Reeds does not affirmatively try to do anything in Ohio. The only Reeds

activity that Plaintiff claims has any effect on Ohio at all is Reeds’ generally accessible website,

from which Ohio residents may occasionally make a purchase. 4 But that is not enough to meet the

purposeful availment prong.

       “As the Sixth Circuit has explained, the mere availability of a website falls short of

purposeful availment.” Mobile Conversions, Inc. v. Allegheny Ford Truck Sales, No. 1:12CV369,



4
 See, e.g., FAC ¶¶ 17 (“Reed[s] sells products through its website”), 18 (such online sales “cause[]
confusion in the marketplace”), 19 (Reeds “uses the mark ‘NATO’ on its online store”), 22 (Reeds
advertises its “products with the ‘NATO’ mark across the internet”).


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2012 WL 12893476, at *3 (S.D. Ohio Oct. 15, 2012) (citing Neogen Corp. v. Neo Gen Screening,

Inc., 282 F.3d 883, 890 (6th Cir. 2002)). “[P]urposeful availment requires ‘something more’ than

the operation of a generally accessible, interactive commercial website reachable from the forum.”

Tradesmen Int’l, LLC v. Tradesmen Staffing, LLC, No. 5:15-CV-1368, 2017 WL 2620660, at *5

(N.D. Ohio June 16, 2017) (quoting Cap. Confirmation, Inc. v. AuditConfirmations, LLC, No.

3:09-0412, 2009 WL 2823613, at *9 (M.D. Tenn. Aug. 28, 2009)); see also Gov’t Cont. Servs.,

Inc. v. eLegalSupply.com, LLC, No. 5:20-CV-01480, 2021 WL 83398, at *6 (N.D. Ohio Jan. 11,

2021) (“[Plaintiff’s] claim that [defendant’s] website is open to customers nationwide, and

therefore Ohio, cannot satisfy the requirement of purposeful availment”); LeafFilter N., LLC v.

Home Craft Builders, Inc., 487 F. Supp. 3d 643, 649 (N.D. Ohio 2020) (“The level of contact with

a state that occurs simply from the fact of a website’s availability on the Internet is therefore an

‘attenuated’ contact that falls short of purposeful availment.” (quoting Neogen, 282 F.3d at 890)).

                              ii.     Plaintiff’s claims do not “arise” from Reeds conduct in
                                      Ohio.

       Even if Plaintiff could show that Reeds has substantial business in Ohio (which it cannot),

Plaintiff must also show that its “cause of action arises from” whatever business Reeds does in

Ohio. Cmty. Tr. Bancorp, Inc. v. Cmty. Tr. Fin. Corp., 692 F.3d 469, 472 (6th Cir. 2012). Plaintiff

cannot do that. From 2020-2023, Reeds had only one sale of NATO-style Products shipped to

Ohio, generating $296.25 in revenue. Reinger Decl. at ¶ 15. Ohio accounts for less than 0.2%

of Reeds’ total sales of NATO-style Products. Id.

       This de minimis single sale in Ohio also further shows that Plaintiff cannot meet the

purposeful availment prong. See Zoya Co. v. NIOS, Inc., No. 1:13-CV-00780-DCN, 2013 WL

4511922, at *4 (N.D. Ohio Aug. 23, 2013) (“This Court agrees with Defendant that it is

unreasonable to exercise jurisdiction over Defendant in Ohio based on the singular internet sale



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for a trademark infringement claim under the circumstances of this case.”); Mobile Conversions,

Inc., 2012 WL 12893476, at *4 (finding that delivery of single item to Ohio was insufficient to

establish personal jurisdiction over the defendant).

                              iii.    Reeds has no substantial contacts in Ohio to make specific
                                      jurisdiction fair.

       Lastly, courts “consider whether exercising personal jurisdiction over [the defendant]

would be reasonable, i.e., whether it would comport with traditional notions of fair play and

substantial justice.” Sullivan, 79 F.4th at 674 (internal quotations omitted) (quoting CompuServe,

Inc. v. Patterson, 89 F.3d 1257, 1267-68 (6th Cir. 1996)). Here, Reeds has no presence in Ohio

and does nothing to target Ohio. See Reinger Decl. at ¶¶ 4, 7-10, 12-13. Reeds only relevant

contact with Ohio is a single sale via a website accessible by anyone anywhere in the world. Id.

at ¶¶ 10, 15. In no sense would the exercise of personal jurisdiction in such circumstances

“comport with ‘traditional notions of fair play and substantial justice.’” Sullivan, 79 F.4th at 674

(quoting CompuServe, Inc., 89 F.3d at 1268).

       B.       Venue is Improper in this District.

       Plaintiff asserts that venue is proper pursuant to 28 U.S.C. § 1391(b)(2) and/or 28 U.S.C.

§ 1400(b). See FAC ¶ 9. Neither provides a basis for venue.

       First, § 1400(b) applies to patent infringement actions, not trademark infringement claims

or state law claims. Accordingly, it does not provide a basis for venue here.

       Second, § 1391(b)(2) provides for venue in “a judicial district in which a substantial part

of the events or omissions giving rise to the claim occurred, or a substantial part of property that

is the subject of the action is situated.” As described above, no substantial part of the facts

underlying Plaintiff’s claims occurred in Ohio. Supra III.A. Therefore venue is improper under

§ 1391(b)(2).



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       C.      Plaintiff Fails To State a Claim, Because Reeds’ Use of “NATO” Refers To
               The North Atlantic Treaty Organization

       A threshold question for a trademark claim is whether the defendant uses the allegedly

infringed “mark in a way that identifies the source of [the defendant’s] goods.” Hensley, 579 F.3d

at 610 (quoting Interactive Prods. Corp. v. a2z Mobile Off. Sols., Inc., 326 F.3d 687, 695 (6th Cir.

2003)). This threshold analysis “focuses on ‘whether a consumer is likely to notice the plaintiff’s

trademark and then think that the defendant’s product may be produced by the same company.’”

Oaklawn Jockey Club, Inc. v. Kentucky Downs, LLC, 687 F. App’x 429, 432 (6th Cir. 2017)

(cleaned up) (quoting Interactive Prods., 326 F.3d at 696). If a defendant is only using a trademark

in “a non-trademark way,” i.e., for some purpose other than identifying the source of its goods,

then “trademark infringement laws, . . . do not even apply.” Hensley, 579 F.3d at 610 (internal

quotations omitted) (citing Interactive Prods., 326 F.3d at 695). The Sixth Circuit has repeatedly

affirmed 12(b)(6) dismissal of trademark and state-law unfair competition claims based on non-

trademark uses of the allegedly infringed mark.

       For example, in Rupp v. Courier-J., Inc., the owner of the “Derby-Pie” mark brought suit

against a newspaper that had used “Derby pie” as “shorthand for chocolate nut pie” similar to that

sold by the mark owner. 839 F. App’x 1003, 1008 (6th Cir. 2021). The Court said that the

defendant’s use of “‘derby pie’ did not ‘denote the recipe for the DERBY-PIE® but a recipe for a

‘Derby pie.’” Id. Moreover, the defendant’s news articles explicitly stated that the sources of the

pie recipes mentioned were companies other than the plaintiff. Id. at 1007-08. Therefore,

dismissal under Rule 12(b)(6) was appropriate. Id.

       Similarly, in Hensley, the Sixth Circuit affirmed dismissal of a trademark action where the

defendant’s use of the trademark did “not signify the source of . . . [the] products.” 579 F.3d 603,

611 (6th Cir. 2009). There, a designer of trailer hitches, Jim Hensley, founded a company that



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took on his name, “Hensley Manufacturing.” Id. at 607. He later left the company to work for the

defendant. Id. The defendant truthfully stated that Mr. Hensley had designed its products, and his

old company sued. Id. at 611. The Sixth Circuit affirmed dismissal of the complaint because the

defendant’s “advertisements do not use the name ‘Hensley’ in the trademark sense; they use Jim

Hensley’s name only to identify him as a designer of trailer hitches.” Id. at 612.

       Likewise, in Oaklawn, the defendant operated a computerized betting system that “states

the [trademarked horse track] locations at which the races were run.” 687 F. App’x at 430. The

court said that “[t]he amended complaint pleads no facts from which to infer that Defendants are

engaging in a trademark use of Plaintiffs’ trademarks,” except in conclusory form. Id. at 433. The

defendants were merely stating the location of horse races. Id. at 432. Accordingly, the Sixth

Circuit affirmed the district court’s dismissal. Id. at 434.

       This case is no different than Rupp, Hensley, or Oaklawn. Just as in Rupp, the defendant

used the trademark to refer to a type of pie, not the plaintiff’s pie. Reeds uses “NATO” to refer to

a style of watch, not Plaintiff’s watches. Just as in Hensley, Reeds “advertisements do not use the

name ‘[NATO] in the trademark sense; they use [NATO’s] name only to identify [NATO] as” the

inspiration for a style of watches. 579 F.3d at 612. Indeed, the case for dismissal here is even

stronger than in Hensley, because unlike Jim Hensley, Plaintiff has no connection to the Treaty

Organization to which Reeds’ advertisement refers. Finally, just as in Oaklawn the defendant

made a factual reference to the location of a horse race, see 687 F. App’x at 433, Reeds’

advertisement make a factual reference to the history of a watch style.

       Plaintiff has pled no facts to support the inference that any consumer would think Reeds’

advertisements refer to Plaintiff rather than the Treaty Organization and NATO-style watches. To




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the contrary, the facts pled in the FAC contradict any assertion that Reeds uses “NATO” in a

“trademark way.”

       First, Plaintiff cannot dispute that NATO is a well-recognized acronym for the Treaty

Organization and that consumers are far more likely to think of the Treaty Organization than

Plaintiff when they see the word “NATO.” Plaintiff lost on that point and failed to appeal. See In

re Int’l Watchman Inc., No. 87302907, 2021 U.S.P.Q.2d 1171, 2021 WL 5755146, at *5-8

(T.T.A.B. Nov. 30, 2021).

       Second, Plaintiff’s allegations regarding Reeds are entirely conclusory, simply stating that

Reeds’ “conduct has caused confusion, mistake, and deception, and is likely to continue to cause

confusion.” FAC ¶ 24. Plaintiff offers no explanation of why a consumer would see Reeds’ use

of “NATO” and think of Plaintiff. That is the type of conclusory allegation courts routinely reject

under Iqbal/Twombly.

       Third, the single Reeds advertisement Plaintiff attaches to its FAC clearly shows that

“NATO” refers to NATO-style Products, not Plaintiff. See Dkt. 5-2. The advertisement identifies

that the source of the watches as a well-known watch company, stating that they are “[f]rom

OMEGA,” not some company called “NATO.” Id. The advertisement discusses a warranty

offered by a specific OMEGA legal entity, OMEGA SA. Id.

       The advertisement puts “NATO” in quotation marks and refers to “OMEGA’s NATO-

inspired straps,” not NATO-brand straps. Id. (emphasis added). Nothing in the FAC supports an

inference that Plaintiff “inspired” the watches. Even if a consumer did think that Plaintiff, rather

than the Treaty Organization, “inspired” the watch, it shows that someone other than Plaintiff is

the source of the goods. It would be absurd for Plaintiff to say it “inspired” itself.




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         Furthermore, the advertisement refers to the straps’ “earliest origins to the Second World

War,” evoking the military origins of NATO-style watches. Id. Plaintiff’s trademark registration

asserts that it first used the NATO mark in 2003, almost sixty years after World War II ended. See

Dkt. 5-1 (trademark registration certificate listing February 2, 2003 as the date of first use of

“NATO”).       The suggestion that this advertisement shows any connection with Plaintiff is

implausible.

         Finally, the same analysis applies to Plaintiff’s state-law unfair competition claims.

Oaklawn, 687 F. App’x at 433 (affirming dismissal of state unfair competition claims for failure

to allege “trademark use”). Under Ohio law, “[s]imply stating that a defendant … ‘causes

likelihood of [confusion]’ will not do when the actual facts alleged in the Complaint make clear

that Defendants were not attempting to identify [the plaintiff] as the source of their own goods and

services.” Morris v. Wise, No. 1:19 CV 2467, 2020 WL 1000010, at *6 (N.D. Ohio Mar. 2, 2020).

Thus, Plaintiff’s state law claim must be dismissed as well.

IV.      CONCLUSION

         For the reasons set forth herein, Reeds respectfully requests that this Court dismiss

Plaintiff’s complaint for lack of personal jurisdiction and improper venue and/or for failing to state

a claim upon which relief could be granted.




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Dated: March 11, 2024                                 Respectfully submitted.

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                             CERTIFICATE OF COMPLIANCE

       Pursuant to Local Rule 7.1(f), I hereby certify that no track has been assigned to this case.

I further certify that the foregoing Memorandum adheres to the page limitations set forth for

unassigned cases.

Dated: March 11, 2024                                 Respectfully submitted.

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